                Case:
ILND 450 (Rev. 10/13)    1:16-cv-06665
                      Judgment in a Civil Action   Document #: 79 Filed: 03/27/18 Page 1 of 1 PageID #:939

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

Virginia Torres,

Plaintiff(s),
                                                                    Case No. 16cv6665
v.                                                                  Judge Virginia M. Kendall

LVNV Funding, LLC, et al,

Defendant(s),

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
          Defendant(s) shall recover costs from plaintiff(s).


             other: Judgment is hereby entered in favor of plaintiff, Virginia Torres and against Defendant,
LVNV Funding, LLC. Torres is entitled to actual and statutory damages against LVNV pursuant to 15 U.S.C. §
1692k. Judgment is hereby entered in favor of defendant LVNV Funding, LLC, and against defendant Nations
Recovery Center, Inc.

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge Virginia M. Kendall on a motions for summary judgment.

Date: 3/27/2018                                                  Thomas G. Bruton, Clerk of Court

                                                                 /s/ A. Owens , Deputy Clerk
